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                                 Case No. 23-1751


                              IN THE
                  UNITED STATES COURT OF APPEALS
                    FOR THE SEVENTH CIRCUIT


         YORAM KAHN, individually and on behalf of all others
                       similarly situated,

                                        —v.—                     Plaintiff-Appellant,

                              WALMART Inc.,
                                                               Defendant-Appellee.


                ON APPEAL FROM THE UNITED STATES
                 DISTRICT COURT FOR THE NORTHERN
               DISTRICT OF ILLINOIS, EASTERN DIVISION,
                          NO. 1:22-CV-04177
           HONORABLE SARA L. ELLIS, DISTRICT COURT JUDGE

 PLAINTIFF-APPELLANT, YORAM KAHN’S BRIEF IN OPPOSITION
  TO MOTION OF RETAIL LITIGATION CENTER, INC., NATIONAL
RETAIL FEDERATION, FMI – THE FOOD INDUSTRY ASSOCIATION,
AND ILLINOIS RETAIL MERCHANTS ASSOCIATION FOR LEAVE TO
   FILE BRIEF AS AMICI CURIAE SUPPORTING APPELLEE AND
                        AFFIRMANCE
________________________________________________________________________________________


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       Pursuant to Federal Rule of Appellate Procedure 27(a)(3), Plaintiff-

Appellant Yoram Kahn opposes the movants’ request to file an amicus curiae

brief (ECF No. 26-1) in his appeal of a Federal Rule of Civil Procedure 12(b)(6)

dismissal. The additional “information” presented by the movants is irrelevant

to determining whether the Complaint adequately stated a claim under Fed.

R. Civ. P. 12(b)(6). The proposed amicus curiae brief injects purported

“realities” that are not alleged in the Complaint and are not stipulated facts.

It also argues that retailers should not be liable for false pricing here, much

like Appellee Walmart Inc. already fully briefed at ECF No. 24. Therefore, the

motion to file the amicus curiae brief should be denied since the brief does not

add value to the disposition of the appeal.

       As this Court summarized in Prairie Rivers Network v. Dynegy Midwest

Generation, LLC, 976 F.3d 761 (7th Cir. 2020) (Scudder, J., in chambers),

whether to grant a motion to allow an amicus curiae brief is largely a matter

of whether the brief is “relevant to the disposition of the case” and “add[s] value

to [the Court’s] evaluation of the issues presented on appeal.” Prairie Rivers

Network, 976 F.3d at 762-63 (citing Fed. R. App. P. 29(a)(3)(B)). “The criterion

is more likely to be satisfied in a case in which a party is inadequately

represented; or in which the would-be amicus has a direct interest in another

case that may be materially affected by a decision in this case; or in which the

amicus has a unique perspective or specific information that can assist the

court beyond what the parties can provide.” Voices for Choices, et al. v. Ill. Bell

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Tel. Co., 339 F.3d 542, 545 (7th Cir. 2003) (citing Nat’l Org. for Women, 223

F.3d at 616-17).

       Under this guidance, the Court should deny the motion to file the amicus

curiae brief. The District Court predicated its Fed. R. Civ. P. 12(b)(6) dismissal

on the facts alleged in the Complaint and its interpretation of case law

applicable to the claims asserted under the Illinois Consumer Fraud and

Deceptive Practices Act, 815 ILCS 505/1 (“ICFA”), the Uniform Deceptive

Trade Practices Act, 815 ILCS 505/2 (“UDTPA”), and Illinois common law. On

appeal, this Court reviews “de novo the dismissal of a complaint for failure to

state a claim” pursuant to Fed. R. Civ. P. 12(b)(6). Benson v. Fannie May

Confections Brands, Inc., 944 F.3d 639, 644 (7th Cir. 2019). “In so doing, [it]

construe[s] the complaint in the light most favorable to the nonmoving party,

accept[s] well-pleaded facts as true, and draw[s] all inferences in the

nonmoving party’s favor.” Zahn v. N. Am. Power & Gas LLC, 847 F.3d 875, 877

(7th Cir. 2017) (internal quotations and alterations omitted). Where a district

court did not rely on materials outside of the complaint in ruling on a Fed. R.

Civ. P. 12(b)(6) motion, which the District Court did not do here, it is

inappropriate for the Court of Appeals to do so. See Albany Bank & Trust Co.

v. Exxon Mobil Corp., 310 F.3d 969, 971 (7th Cir. 2002); see also Banks v. Nat’l

Collegiate Athletic Ass’n, 977 F.2d 1081, 1093 (7th Cir. 1992) (“in evaluating a

Rule 12(b)(6) dismissal, we limit our review, as we must, to the well-pleaded

allegations of the Complaint”) (internal citation marks and citation omitted).

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       The movants claim to present the “practical realities of retail shelf

pricing and the practical consequences” (ECF No. 26-1 at 3), but their

purported “realities” and “consequences” are outside the well-pleaded

allegations of the Complaint. These new assumptions are not “relevant to the

disposition of the case,” do not “add value to [the Court’s] evaluation of the

issues presented on appeal,” and cannot “assist the court beyond what the

parties can provide [given the current procedural posture].” Prairie Rivers

Network, 976 F.3d at 763; see also Rawson v. ALDI, Inc., No. 21-cv-2811, 2022

WL 1556395, at *7 (N.D. Ill. May 17, 2022) (denying leave for an industry

association to file an amicus brief for a Fed. R. Civ. P. 12(b)(6) motion based on

circuit authority and finding the amicus “offers factual nuance not addressed

by the parties, but … considering [its] … factual assertions now is not

appropriate”). They should not be a part of this Court’s review of the District

Court’s opinion.




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       For these reasons, the Court should deny the motion at ECF No. 26-1 to

file an amicus curiae brief.

Respectfully submitted,

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                       CERTIFICATE OF SERVICE

      The Undersigned Counsel of Record for the Plaintiff-Appellant, Yoram

Kahn, hereby certifies that on 25th day of September 2023, I electronically filed

the foregoing with the Clerk of the Court for the United States Court of Appeals

for the Seventh Circuit by using the CM/ECF system. I certify that all

participants in the case are registered CM/ECF users and will be served by the

CM/ECF system.

Dated: September 25, 2023

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